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                                   NO. 15CV00382
                   ______________________________________________

                        UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT
                   ______________________________________________

Vincent Rose
Plaintiff

v.

The Board of Election Commissioners for the City of Chicago,
Langdon D. Neal, Chairman,
Richard A. Cowen, Secretary/Commissioner and
Marisel A. Hernandez Commissioner Defendant
The State of Illinois by Lisa Madigan Attorney General
Defendants

                   ______________________________________________

                  The Honorable Judge Honorable Amy J. St. Eve.
           Designated as Magistrate Judge the Honorable Michael T. Mason

                   ______________________________________________

               PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
                   ______________________________________________



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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS

 Vincent Rose                        ]	  
 Plaintiff                           ]	  
                                     ]	       NO. 15CV00382
 v.
                                     ]	  
 The Board of Election Commissioners ]	       The Honorable Judge
 for the City of Chicago,            ]	       Honorable Amy J. St. Eve.
 Langdon D. Neal, Chairman,          ]	  
 Richard A. Cowen,                   ]	       Designated as Magistrate
                                     ]	       Judge the Honorable
 Secretary/Commissioner and
                                     ]	       Michael T. Mason
 Marisel A. Hernandez Commissioner             	  
                                     ]	  
 AND, the State of Illinois          ]	  
 Defendants                          ]	  
                                     	  

                    MOTION FOR A PRELIMINARY INJUNCTION

      Plaintiff pursuant to Federal Rule of Civil Procedure 65 moves this court to issue a

preliminary injunction. In Support thereof Plaintiff presents the following:

                   I.   FACTUAL BASIS FOR CAUSE OF ACTION

   Plaintiff Vincent Rose filed his Petitions for nomination as candidate for Alderman in

the 7th ward of the City of Chicago. William Taylor and Michael Anderson objected to

plaintiff’s nomination petitions. The Board of Elections conducted two records

examinations. Plaintiff obtained more than the required 4% of Signatures. At the time of

the records examination, The City of Chicago had not processed all voter registration

records as of the time of the examination. The Hearing officer, after two separate records

examinations and hearings recommended to the Defendant Board that Plaintiff

Candidate’s name be excluded from the names of the candidates based on Plaintiff’s

failure to obtain the 4% of Signatures on January 12th, 2015. In the 2015 elections each

petition for nomination of the candidate is required to contain 473 or 473 signatures




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based on the following mathematical formula. ( 590357 / 50 ) x .04=473 or 473 rounded

up. The Illinois General Assembly amended 65 ILCS 20/21-28 which provides as follows

“All nominations for alderman of any ward in the city shall be by petition. All petitions

for nominations of candidates shall be signed by such a number of legal voters of the

ward as will aggregate not less than 4% of all the votes cast for alderman in such ward at

the last preceding general election. For the election following the redistricting of wards

petitions for nominations of candidates shall be signed by the number of legal voters of

the ward as will aggregate not less than 4% of the total number of votes cast for mayor at

the last preceding municipal election divided by the number of wards.”

Prior to this law set the requirement at 2%. In 2012 there was a redistricting of the

Wards within the City of Chicago. In 2011 590,357 votes were cast for mayor at the last

preceding municipal election in 2011. Thus the 2015 petition for nomination of the

candidate is required to contain 473 signatures based on the following mathematical

formula. ( 590357 / 50 ) x .04=473. Each ward for the City of Chicago had the following

numbers of votes cast in 2011 in the Aldermanic Election.

  1.     9847             14.   5907             27.    9429             40.    8712
  2.     14611            15.   7059             28.    6780             41.    20109
  3.     8928             16.   6116             29.    10603            42.    15893
  4.     8577             17.   9900             30.    6251             43.    14267
  5.     11743            18.   15442            31.    5508             44.    11129
  6.     15045            19.   23727            32.    13437            45.    15879
  7.     12345            20.   7467             33.    6667             46.    13906
  8.     15202            21.   15376            34.    14183            47.    16877
  9.     11010            22.   4353             35.    8786             48.    12862
  10.    10701            23.   16448            36.    14052            49.    9617
  11.    11026            24.   9255             37.    8778             50.     11487
  12.    4872             25.   8823             38.    12256
  13.    11601            26.   7438             39.    10189


 A Run Off Election is set for early April 7th for office of the 7th ward Alderman.


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                               II.   LEGAL BASIS

      “To obtain a preliminary injunction, the plaintiffs must show that they have “(1)

no adequate remedy at law and will suffer irreparable harm if a preliminary

injunction is denied and (2) some likelihood of success on the merits.” [Summers v.

Smart, No. 14 C 05398, 2014 WL 4124253, at *3 (N.D. Ill. Aug. 21, 2014.

            A. NO ADEQUATE REMEDY AT LAW AND IRREPARABLE HARM

      Plaintiff is “running for office” and is a voter of the City of Chicago. “It has long

been established that political activities (i.e. running for office, supporting a particular

political candidate) are protected by the First Amendment. Medina v. City of E.

Chicago, Indiana, 184 F. Supp. 2d 805, 819 (N.D. Ind. 2001).

      “It is further well-settled that “[t]he impact of candidate eligibility requirements

on voters implicates basic constitutional rights” to associate politically with like-

minded voters and to cast a meaningful vote.” Stone v. Bd. of Election Comm'rs for

City of Chicago, 750 F.3d 678, 681 (7th Cir. 2014). The loss of any first Amendment

freedom guaranteed by the United States Constitution, for even minimal periods of

time, unquestionably constitutes irreparable injury. See New York Times Co. v.

United States, 403 U.S. 713, 91 S.Ct. 2140, 29 L.Ed.2d 822 (1971). “Indeed,

irreparable harm is presumed to flow from violation of a constitutional right.” Tanford

v. Brand, 883 F. Supp. 1231, 1237 (S.D. Ind. 1995). This is so because “Ordinarily the

remedy for arbitrary governmental action is an injunction, rather than an action for

just compensation.” United States v. Cent. Eureka Mining Co., 357 U.S. 155, 167, 78

S. Ct. 1097, 1104 (1958). The 7th Circuit found it is settled law in Illinois that

enforcement of illegal statutes may be enjoined. Yellow Cab Co. v. City of Chicago, 186



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F.2d 946, 948 (7th Cir. 1951) and that injunctive relief is a particularly appropriate

remedy when the harm is prospective enforcement of an unconstitutional statute. E &

E Const. Co. v. State of Ill., 674 F. Supp. 269, 277 (N.D. Ill. 1987). In fact, “Federal

courts at all levels have recognized that violation of constitutional rights constitutes

irreparable harm as a matter of law.” De Leon v. Perry, 975 F. Supp. 2d 632, 663

(W.D. Tex. 2014). “The reason for this presumption is that “Unlike monetary injuries,

constitutional violations cannot be adequately remedied through damages and

therefore generally constitute irreparable harm.” Nelson v. Nat'l Aeronautics & Space

Admin., 530 F.3d 865, 882 (9th Cir. 2008) rev'd and remanded, 562 U.S. 134, 131 S. Ct.

746, (2011). As such, the remedy for a claim in the form of a constitutional challenge

to legislation is necessarily directed at the statute itself and therefore must be

injunctive and declaratory. See Ezell v. City of Chicago, 651 F.3d 684 (7th Cir. 2011).

If Plaintiff prevails, the only appropriate remedy is a declaration that statute is

invalid and an injunction forbidding its enforcement. See Ezell v. City of Chicago, 651

F.3d 684, 699 (7th Cir. 2011), not monetary damages since Plaintiff has not suffered

any monetary damages at this time. Thus, Plaintiff stands to suffer irreparable harm

and no adequate remedy of law exists at this time. In support of such conclusion,

pursuant to Fed. R. Civ. P. 10 Plaintiff adopts all statements within all alleged counts

contained in the amended complaint by reference in this motion. See Exhibit 1.

                                B. SUCCESS ON THE MERITS

      Plaintiff asserts that as a matter of law and fact he has sufficiently

demonstrated a probability of success on the merits requiring this court must grant

preliminary injunctive relief. See Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67, 83



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S.Ct. 631, 637, 9 L.Ed. Specifically, Congress has provided that “No voting

qualification or prerequisite to voting or standard, practice, or procedure shall be

imposed or applied by any State or political subdivision in a manner which results in a

denial or abridgement of the right of any citizen of the United States to vote on

account of race or color***52 U.S.C.A. § 10301. The General Assembly passed IL ST

CH 65 § 20/21-28. A generally applicable ordinance is nothing if not the ‘policy’ of the

municipality, enacted by those with final policy-making authority.” Oxford Bank &

Trust & Fifth Ave. Prop. Mgmt. v. Vill. of La Grange, 879 F. Supp. 3 2d 954, 966 (N.D.

Ill. 2012). Accordingly, it is the policy of Defendant’s.

      Plaintiff alleges that such statue and procedures at issue violate 52 U.S.C.A. §

10301. Specifically, based on the totality of the circumstances, it is clear that the

political processes leading to nomination or election in the State or political

subdivision of alderman are not equally open to participation by minority class of

citizens protected by 52 U.S.C.A. § 10301. Furthermore the members of such class

have less opportunity than other members of the electorate to participate in the

political process and to elect representatives of their choice.

      Specifically, the 2015 Candidate for alderman is required to obtain 473

signatures based on the following mathematical formula. (590357/50) x .04=473 or 473

rounded up. While 473 signatures seem to be a uniform 4% throughout the 50 wards,

it is not when actually applied. For Example, in the 22nd ward 473 signatures becomes

a 10.87% signature requirement when compared to the number of voters in the prior

aldermanic election of 2011 within that ward. See Exhibit 1




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      In fact in every ward where there is a majority population of Hispanics the

number deviates higher than 4%, except the 23rd ward where the number is lower

which Plaintiff argues because there is almost equal majority of non-Hispanic whites.

A majority of deviations higher than 4% percent also occur when a minority population

is sizeable within a mostly white ward and presents competition to the White

Majority. Furthermore, the majority of lower deviations from 4% occur within wards,

which are predominantly white. For example the 19th ward has a 1.99% requirement

the lowest amongst all wards, with a majority white population.

      Furthermore, the 4% requirement controlling the political processes leading to

nomination or election in the State or political subdivision of alderman is not equally

open to participation by Black, Asian, Pacific, and all other minority class of citizens

protected by the Statute. Specifically, the members of such class have less opportunity

than other members of the electorate to participate in the political process and to elect

representatives of their choice because a 4% requirement or signature amount of 473

is a higher amount then the actual number of persons who are of a protected class

whom reside within such ward. Accordingly, they have less opportunity than other

members of the electorate to participate in the political process by running for office or

otherwise to elect persons of their choice. For example the 10th ward only has 10 Asian

residents. Clearly a signature amount of 473 or 4% creates a less opportunity for

Asians to be participate in the political office or otherwise to elect persons of their

choice. Thus such 4% requirement and process is violative of 52 U.S.C.A. § 10301.

       Plaintiff further alleges that All citizens of the United States who are otherwise

qualified by law to vote at any election by the people in any State, Territory, district,



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county, city, parish, township, school district, municipality, or other territorial subdivision,

shall be entitled and allowed to vote at all such elections, without distinction of race, color,

or previous condition of servitude; any constitution, law, custom, usage, or regulation of

any State or Territory, or by or under its authority, to the contrary notwithstanding.” 52

U.S.C.A. § 10101.

       Plaintiff alleges the 4% scheme instituted was instituted to further racially

discriminatory purposes of making it more difficult for Minorities to have access to the

ballot and that the effect of the method is “to minimize or cancel out the voting strength of

racial or political elements of the voting population”. Black Voters v. McDonough, 565 F.2d

1, 4 (1st Cir. 1977) Such scheme clearly dilutes the rights of minority voters.

       The effect of the system is the denial to such minority voters and candidates of

equal access to the ballots and equal power of votes.

     While it is true that “Reasonable restrictions may be imposed on candidates

because states have an interest in requiring a demonstration of qualification in order

for the elections to be run fairly and effectively.” Stone v. Bd. of Elections Comm'rs for

City of Chicago, 955 F. Supp. 2d 886, 892 (N.D. Ill. 2013) aff'd sub nom. Stone v. Bd. of

Election Comm'rs for City of Chicago, 750 F.3d 678 (7th Cir. 2014)

     Plaintiff alleges that when applying the balancing test articulated in Anderson v.

Celebrezze, 460 U.S. 780, 788, 103 S.Ct. 1564, 75 L.Ed.2d 547 (1983), the character

and magnitude of the asserted injury to the rights protected by the First and

Fourteenth Amendments which plaintiff seeks to vindicate against the precise

interests put forward by the State as justifications for the burden imposed by its rule,”

taking into consideration “the extent to which those interests make it necessary to



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burden the plaintiffs' rights, show that the regulation is not justified by a compelling

interest and is not narrowly tailored to serve that interest and is not rationally related

to any legitimate interest. Anderson, 460 U.S. at 789, 103 S.Ct. 1564.

     Furthermore, the law imposes unreasonable, discriminatory restrictions, upon

the protected right and furthers no important state regulatory interests. Burdick, 504

U.S. at 434, 112 S.Ct. 2059. Stone v. Bd. of Elections Comm'rs for City of Chicago, 955

F. Supp. 2d 886, 892 (N.D. Ill. 2013) aff'd sub nom. Stone v. Bd. of Election Comm'rs

for City of Chicago, 750 F.3d 678 (7th Cir. 2014). By creating such a variable rate

amongst the community through a 4% or 473 signature requirement the State cannot

have a compelling interest because the measurable quantum is not actually based on

community support but rather the votes for the mayor outside the community (ward),

which set the benchmark requirement of 473 votes. Especially when there are less

votes required in a more populated ward, then those in a significantly less populated

ward.

     Plaintiff further asserts that the amount of votes plaintiff presented satisfies the

prior 2% rule based on the number of voters in the 2011 election within the ward.

Candidate asserts that his current signature amounts are a significant modicum of

support and he is therefore in substantial compliance with the intent and provisions of

the election code and that the Defendant has no basis to deny his access to the ballot.

     Although numerous cases have upheld 5% as a reasonable benchmark for

showing a reasonable modicum of support, such cases are inapplicable to this matter.

For example, Libertarian Party of Illinois v. Rednour, 108 F.3d 768, 771 (7th Cir.

1997) stands for the proposition that 5% is approved. However, such case was in



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relation to a STATEWIDE election, which in the last governor’s election had a voter

population of 3,627,690. Each Ward in the City of Chicago has less than 30,000.00

voters as shown in the exhibits. Logic dictates that if 5% is constitutional for a

showing of support from more than 3 million people, 4% for small-populated wards is

burdensome, irrational, unconstitutional, and causes a discriminatory impact on

Voters.

      While Jenness v. Fortson, 403 U.S. 431, 433, 91 S. Ct. 1970, 1971-72, 29 L. Ed.

2d 554 (1971) seems to be applicable, such case actually bolsters the position of

Plaintiff rather than Defendant. Specifically, the court found that, “the 5% figure is,

to be sure, apparently somewhat higher than the percentage of support required to be

shown in many States as a condition for ballot position, but this is balanced by

the fact that Georgia has imposed no arbitrary restrictions whatever

upon the eligibility of any registered voter to sign as many nominating

petitions as he wishes. Georgia in this case has insulated not a single potential

voter from the appeal of new political voices within its borders” Jenness v. Fortson,

403 U.S. 431, 442, 91 S. Ct. 1970, 1976, 29 L. Ed. 2d 554 (1971). However, Illinois does

not allow voters to sign as many nominating petitions as he wishes and limits the

voter to only one nomination of a candidate per voter.

     Furthermore, the law dealt with a 5% requirement of votes from the last election

for the office the candidate is running for. Our requirement is not based on the actual

number of voters in that specific wards election for which the candidate is running but

is rather on the election of the mayor, for which the candidate is not running.




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                                         Lastly, the rule dealt with persons whom lost a primary and chose to run as

independent or by some other political body. The Court found that it could not be

unconstitutional because there are two alternative paths available for election. See

Jenness v. Fortson, 403 U.S. 431, 440-41, 91 S. Ct. 1970, 1975, 29 L. Ed. 2d 554 (1971).

Here there is only one path with no primary, and a limitation on that path as to one

signature total per voter.

                                         Additionally, In Norman v. Reed, 502 U.S. 279 (1992) the court upheld a 5%

signature requirement, not to exceed 25,000 signatures in Cook County and Chicago.

However, such case dealt with establishing new political parties not candidates for

office in small wards. 1 Also, the case dealt with county wide and state wide political

party creations so as to be able to run candidate without signatures..

                                         In Druck v. Illinois State Board of Elections, 387 Ill.App.3d 144, 152 the court

held that “the requirement in section 10–2 of the Election Code, in elections

subsequent to the first election following redistricting, that a new party file

nominating petitions containing signatures from 5% of the qualified voters who voted

in the next preceding regular election in such district is a reasonable and

nondiscriminatory way to have the new party and its candidate, Druck, demonstrate a

modicum.” Druck v. Illinois State Bd. of Elections, 387 Ill. App. 3d 144, 153, 899

N.E.2d 437, 444 (2008). This law dealt with congressional districts, which had

222,230, not the city wards that have low populations.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  A	  new	  political	  party	  becomes	  an	  “established	  political	  party”	  if	  it	  receives	  5%	  of	  the	  vote	  in	  

the	  next	  election,	  but	  a	  party	  that	  has	  not	  engaged	  in	  a	  statewide	  election	  can	  become	  
Norman	  v.	  Reed,	  502	  U.S.	  279,	  279,	  112	  S.	  Ct.	  698,	  116	  L.	  Ed.	  2d	  711	  (1992)	  
	  


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     Furthermore, the law provided that “Section 10–2 of the Election Code also

provides that for elections other than the first election following a redistricting, a

new political party that is formed for any district less than the entire state must

file petitions signed by qualified voters of not less than 5% of the voters who voted at

the next preceding regular election in such district.” Plaintiff issue deals with

candidates, not primary elections, and a flat percentage of votes based on a total of all

the districts and the mayor’s race.

     While the Defendant may argue that “After ward boundaries change because of

redistricting, it would no longer make sense to use the totals of a prior election's

aldermanic turnout in that ward as the benchmark for a new election.” Accordingly,

their actions of connecting the Mayors race to the wards are legally justified on that

basis. However, The General Assembly required that, “For use in connection with

referenda and the nonpartisan and consolidated elections, each election

authority shall maintain permanent records of the boundaries of all political

subdivisions partially or wholly within its jurisdiction and any districts thereof, and

shall maintain permanent records indicating by tax extension number

code for each registered voter. The political subdivisions and any

districts thereof in which that voter resides. Such records may be kept on the

registration record cards or on separate registration lists, or if a method other than

record coding by tax extension number is adopted by an election authority, such

method shall be, approved by the State Board of Elections. Each political subdivision

must, no later than 5 days after any redistricting, annexation, disconnection or other

boundary change is adopted, give notice of any such adoption and the effective date of



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such act to each election authority having election jurisdiction over any of its former or

new territory.” SEE 10 ILCS 5/5-28.1. Thus, After the redistricting in 2012 the

General Assembly had three years to determine the current amount of voters within

the new boundaries based on the 10 ILCS 5/5-28.1.required records and the ease of

looking whom is registered within the new boundaries.

     Additionally, the Formula could have been determined by examining the

precincts of voting within each ward that were swapped and adding or subtracting the

number from the relative wards.

     However, the real issue is that a ward with 5,000 voters is being diluted or

otherwise controlled by 54500 voters from another geographical area.

     The idea that one groups voting strength is dependent on another is hostile to the

one man, one vote basis of our representative government and violative of due process

and the 1st, 2nd, and 14th and amendment, and equal protection. See Id. “Once the

geographical unit for which a representative is to be chosen is designated, all who

participate in the election are to have an equal vote—whatever their race, whatever

their sex, whatever their occupation, whatever their income, and wherever their home

may be in that geographical unit.“ Gray v. Sanders, 372 U.S. 368, 379, 83 S. Ct. 801,

808, 9 L. Ed. 2d 821 (1963)

     While the Government may argue that if a 5% requirement is constitutional, a 4%

requirement is well within the constitutional limit. The case at bar is dealing with

candidates not party’s, there is also no primary election, and there is a flat percentage

of votes based on a total of all the districts and the mayors race, and Within that small




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number of 50 are 50 separate wards with 50 significantly differing populations

numbers and numbers of voters, thus 22,000 influence the vote of 4,700.00

     With regard to Stone v. Bd. of Election Comm'rs for City of Chicago, 750 F.3d 678,

680 (7th Cir. 2014), the court held that "In light of cases like Jeness and Norman, we

have said that 'plaintiffs cannot argue' that even a '5% petitioning requirement is

severe on its face.” However, Stone dealt with the issue that “Under Illinois law,

candidates for Chicago mayor, city treasurer, or city clerk must gather signatures from

12,500 “legal voters of the city” to have their name printed on the ballot. 65 ILCS

20/21–28(b). This figure amounts to just under 1% of the 1.3 million or so registered

voters in Chicago. As a proportion of active voters, the number is somewhat higher;

12,500 is approximately 2.7% of the number of votes cast in the 2007 mayoral election

and 2.1% of those cast in 2011.” Stone v. Bd. of Election Comm'rs for City of Chicago,

750 F.3d 678, 680 (7th Cir. 2014). The Plaintiff’s case is not based on a citywide

election but rather on individual wards. Furthermore, no votes are influenced in Stone

by another district or area. Additionally, 5% is okay for a mayors race based on

millions of voters, how could 4% be okay for 50 races based on no more than 50,000.00-

60,000.00 people.

     In Stout v. Black, 8 Ill. App. 3d 167, 172, 289 N.E.2d 456, 460 (1972) where the

court found that the 5,000 signature requirement equals only 2 to 3% Of the registered

voters in the 14th district, and all districts are substantially equal in population.

Ill.Const. art. 4, sec. 3(a). Stout v. Black, 8 Ill. App. 3d 167, 172, 289 N.E.2d 456, 460

(1972). Here however, the 473 signature percent requires more than 7% of voter and

all the districts or wards are not substantially equal in population.



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     Candidates for political office and voters enjoy both a First and Fourteenth

Amendment right to participate equally in the electoral process, associate with one

another to achieve policy goals and to vote. See Barr v. Ireland, 575 F. Supp. 2d 747,

755 (S.D.W. Va. 2008). Plaintiff argues that there is no rationale, compelling, or other

proper basis for the different treatment of the class of aldermanic candidates and

voters in that allowing some candidates to access the ballot or voters their choice of

candidate with only 1.9% of the signatures and providing for 50 different variable

amounts of signature is not rationale, is discriminatory, unnecessary, and violative of

equal protection. The idea that one groups voting strength is dependent on another is

hostile to the one man, one vote basis of our representative government and violative

of due process and the 1st, 2nd, and 14th and amendment, and equal protection. See Id.

     “Once the geographical unit for which a representative is to be chosen is

designated, all who participate in the election are to have an equal vote—whatever

their race, whatever their sex, whatever their occupation, whatever their income, and

wherever their home may be in that geographical unit.“ Gray v. Sanders, 372 U.S. 368,

379, 83 S. Ct. 801, 808, 9 L. Ed. 2d 821 (1963) Allowing the voters of other wards to

influence the elections within other wards dilutes the power of the voters in small

wards by those of larger populated wards and violates equal protection.

     Plaintiff also asserts that he was not provided a hearing in a meaningful time and

manner. Specifically, Plaintiff’s records examinations were conducted prior to City of

Chicago’s new voter registration records being updated. Accordingly, the results of

such examination were not accurate and such hearing was not meaningful because the

records used to compare the signatures were not available thereby



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Invaliding numerous signatures from Plaintiff’s nomination papers, despite plaintiff

having more than 473 signatures.

          The harm to Plaintiff and the public’s interest in having a real vote weigh down

the scales of justice in favor of the Plaintiff and requires the issuance of an injunction

against the Defendants. Otherwise, the entire election is merely a sham proceeding in

that each vote has been manipulated through mathematical formula in order to

produce a desired result, despite what the actual voters vote for. It is sad to witness

more than 550,000 fooled into thinking they have a real unadulterated vote in these

elections. But what is even sadder is that that the elected leaders of the freemen and

women of Chicago obtain their position under a false, ungodly, perverted and

corrupted system of democracy2.

WHEREFORE, Plaintiff requests this Honorable Court for the Following Relief:
  1. Ordering A Stay on the April 7th, 2015 Run-Off Elections for the all wards
     including the 7th ward, until Plaintiff’s name be placed on the ballot prior to the
     run-off election
  2. Damages in excess of $100,000.00
  3. Attorney’s Fees and Costs
  4. Invalidation of 65 ILCS 20/21-28 and the setting of a new standard for elections


                                                                         /S/ Ilia Usharovich
                                                                        Attorney For Plaintiff
                                                                        Ilia Usharovich, Attorney
                                                                        224 South Milwaukee Avenue Suite G
                                                                        Wheeling, Illinois 60090
                                                                        Telephone: 847-264-0435
                                                                        Facsimile: 224-223-8079
                                                                        Email:Ilia@usharolaw.com



2	  While	  not	  legally	  relevant,	  but	  more	  of	  a	  fact	  for	  judicial	  notice, the term board of election

commissioners is used 666 times within the Illinois Election Code.	  


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                                 NO. 15CV00382
                 ______________________________________________

                      UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT
                 ______________________________________________

Vincent Rose
Plaintiff

v.

The Board of Election Commissioners for the City of Chicago,
Langdon D. Neal, Chairman,
Richard A. Cowen, Secretary/Commissioner and
Marisel A. Hernandez Commissioner Defendant
The State of Illinois by Lisa Madigan Attorney General
Defendants

                 ______________________________________________

                The Honorable Judge Honorable Amy J. St. Eve.
         Designated as Magistrate Judge the Honorable Michael T. Mason

                 ______________________________________________

                          COMPLAINT OF PLAINTIFF
                                VINCENT ROSE
                 ______________________________________________



                                            Attorney For Plaintiff
                                            Ilia Usharovich, Attorney
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         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF ILLINOIS

 Vincent Rose                        ]	  
 Plaintiff                           ]	  
                                     ]	     NO. 15CV00382
 v.
                                     ]	  
 The Board of Election Commissioners ]	     The Honorable Judge
 for the City of Chicago,            ]	     Honorable Amy J. St. Eve.
 Langdon D. Neal, Chairman,          ]	  
 Richard A. Cowen,                   ]	     Designated as Magistrate
                                     ]	     Judge the Honorable
 Secretary/Commissioner and
                                     ]	     Michael T. Mason
 Marisel A. Hernandez Commissioner           	  
                                     ]	  
 AND, the State of Illinois          ]	  
 Defendants                          ]	  



                   I.   FIRST AMENDED COMPLAINT FOR RELIEF

      Plaintiff Vincent Rose presents the following first amended complaint against

Defendant Board of Election Commissioners for the City of Chicago, Defendant

Langdon D. Neal, Chairman, Defendant Richard A. Cowen, Defendant

Secretary/Commissioner and Marisel A. Hernandez Commissioner and the

Defendant the State of Illinois.

                  II.              PARTIES

      Plaintiff Vincent Rose is a natural person whom resides at 7425 S. South

Shore, Chicago, Illinois 60649.

      Defendant Board of Election Commissioners for the City of Chicago,

Defendant Langdon D. Neal, Chairman, Defendant Richard A. Cowen, Defendant

Secretary/Commissioner and Marisel A. Hernandez Commissioner conduct business

at 69 W. Washington Street, Suites 600/800 Chicago, Illinois 60602. Such




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Defendants are a Government agency for elections residing and operating within

the County of Cook.

       The State of Illinois through Lisa Madigan Illinois Attorney General is a

Governmental Corporation and Agency located within the State of Illinois.

                         III.   JURISDICTION

    The Jurisdiction of the Federal Courts of the United States of America “*** shall

extend to all Cases, in Law and Equity, arising under this Constitution, [and] the Laws

of the United States, ***” U.S. Const. art. III, § 2, cl. 1. Plaintiff’s primary complaint

against Defendant arises under 42 U.S.C.A. § 1983 of the Laws of the United States of

America and 52 U.S.C.A. § 10101, 52 U.S.C.A. § 10301, 52 U.S.C.A. § 10302, 52

U.S.C.A. § 10304, et Seq.

    Furthermore, The United States District Courts have original jurisdiction with

regard to any civil action authorized by law to be commenced by any person to redress

the deprivation, under color of any State law, statute ordinance, regulation, custom or

usage, of any right, privilege or immunity secured by the Constitution of the United

States. See 28 U.S.C.A. § 1343)

                                  IV.   VENUE

       Plaintiff maintains it principle place of residence in Cook County Illinois.

Defendant’s, Government agencies and officers also maintain their principal place of

business in Cook County Illinois. Furthermore, All Defendant’s are residents of Cook

County Illinois and the City of Chicago.




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       Additionally a substantial part of the events or omissions giving rise to the claim

occurred in Cook County. Accordingly, this civil action is be brought within the judicial

district in which the Defendant resides and all defendants are residents of the State in

which the district is located; within a judicial district in which a substantial part of the

events or omissions giving rise to the claim occurred, and where a substantial part of

property that is the subject of the action is situated.

                    V.    FACTUAL BASIS FOR CAUSE OF ACTION

   1. Plaintiff Vincent Rose filed his Petitions for nomination as candidate for

       Alderman in the 7th ward of the City of Chicago.

   2. William Taylor and Michael Anderson objected to plaintiff’s nomination

       petitions.

   3. The Board of Elections conducted two records examinations.

   4. Plaintiff obtained more than the required 4% of Signatures

   5. The City of Chicago has not processed all voter registration records as of the

       time of the examination.

   6. The Hearing officer, after two separate records examinations and hearings

       recommended to the Defendant Board that Plaintiff Candidate’s name be

       excluded from the names of the candidates based on Plaintiff’s failure to

       obtain the 4% of Signatures on January 12th, 2015.

   7. In the 2015 elections each petition for nomination of the candidate is required

       to contain 473 or 473 signatures based on the following mathematical

       formula. ( 590357 / 50 ) x .04=473 or 473 rounded up.




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EXHIBIT ONE PG007




       8. The Illinois General Assembly amended 65 ILCS 20/21-28 which provides

             as follows	  

          “All nominations for alderman of any ward in the city shall be by petition. All
          petitions for nominations of candidates shall be signed by such a number of
          legal voters of the ward as will aggregate not less than 4% of all the votes
          cast for alderman in such ward at the last preceding general election. For the
          election following the redistricting of wards petitions for nominations of
          candidates shall be signed by the number of legal voters of the ward as will
          aggregate not less than 4% of the total number of votes cast for mayor at the
          last preceding municipal election divided by the number of wards.” 	  
          	  
       9. Prior to this law set the requirement at 2%

       10. In 2012 there was a redistricting of the Wards within the City of Chicago.

       11. In 2011 590,357 votes were cast for mayor at the last preceding municipal

             election in 2011.

       12. Thus the 2015 petition for nomination of the candidate is required to contain

             473 signatures based on the following mathematical formula. ( 590357 / 50 ) x

             .04=473

       13. Each	  ward	  for	  the	  City	  of	  Chicago	  had	  the	  following	  numbers	  of	  votes	  cast	  in	  2011	  in	  

             the	  Aldermanic	  Election.	  	  

	  	  
1.	         9847	                     14.	      5907	                      27.	      9429	                      40.	   8712	  
2.	         14611	  	                15.	      7059	                      28.	      6780	                      41.	   20109	  
3.	         8928	  	                 16.	      6116	                      29.	      10603	                     42.	   15893	  
4.	         8577	                     17.	      9900	                      30.	      6251	                      43.	   14267	  
5.	         11743	                    18.	      15442	                     31.	      5508	                      44.	   11129	  
6.	         15045	                    19.	      23727	                     32.	      13437	                     45.	   15879	  
7.	         12345	                    20.	      7467	                      33.	      6667	                      46.	   13906	  
8.	         15202	                    21.	      15376	                     34.	      14183	                     47.	   16877	  
9.	         11010	                    22.	      4353	                      35.	      8786	                      48.	   12862	  
10.	        10701	                    23.	      16448	                     36.	      14052	                     49.	   9617	  
11.	        11026	                    24.	      9255	                      37.	      8778	                      50.	  	  	  	  	  	  	  	  11487	  
12.	        4872	                     25.	      8823	                      38.	      12256	  
13.	        11601	                    26.	      7438	                      39.	      10189	  


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       14. A Run Off Election is set for April within the 7th ward Alderman.
	  
	  
       VI.   COUNT ONE: COUNT ONE: VIOLATION OF 52 U.S.C.A. § 10301
	  
         Congress has provided that “No voting qualification or prerequisite to voting

or standard, practice, or procedure shall be imposed or applied by any State or

political subdivision in a manner which results in a denial or abridgement of the

right of any citizen of the United States to vote on account of race or color***52

U.S.C.A. § 10301

         Plaintiff is “running for office” and is a voter of the City of Chicago. “It has

long been established that political activities (i.e. running for office, supporting a

particular political candidate) are protected by the First Amendment. Medina v.

City of E. Chicago, Indiana, 184 F. Supp. 2d 805, 819 (N.D. Ind. 2001).

         “It is further well-settled that “[t]he impact of candidate eligibility

requirements on voters implicates basic constitutional rights” to associate politically

with like-minded voters and to cast a meaningful vote.” Stone v. Bd. of Election

Comm'rs for City of Chicago, 750 F.3d 678, 681 (7th Cir. 2014).

         The General Assembly passed IL ST CH 65 § 20/21-28. A generally applicable

ordinance is nothing if not the ‘policy’ of the municipality, enacted by those with

final policy-making authority.” Oxford Bank & Trust & Fifth Ave. Prop. Mgmt. v.

Vill. of La Grange, 879 F. Supp. 3 2d 954, 966 (N.D. Ill. 2012). Accordingly, it is the

policy of Defendant’s.




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      Plaintiff alleges that such statue and procedures at issue violate 52 U.S.C.A. §

10301. Specifically, based on the totality of the circumstances, it is clear that the

political processes leading to nomination or election in the State or political

subdivision of alderman are not equally open to participation by minority class of

citizens protected by 52 U.S.C.A. § 10301. Furthermore the members of such class

have less opportunity than other members of the electorate to participate in the

political process and to elect representatives of their choice.

      Specifically, the 2015 Candidate for alderman is required to obtain 473

signatures based on the following mathematical formula. (590357/50) x .04=473 or

473 rounded up. While 473 signatures seem to be a uniform 4% throughout the 50

wards, it is not when actually applied. For Example, in the 22nd ward 473

signatures becomes a 10.87% signature requirement when compared to the number

of voters in the prior aldermanic election of 2011 within that ward. See Exhibit 1

      In fact in every ward where there is a majority population of Hispanics the

number deviates higher than 4%, except the 23rd ward where the number is lower

which Plaintiff argues because there is almost equal majority of non-Hispanic

whites.

      A majority of deviations higher than 4% percent also occur when a minority

population is sizeable within a mostly white ward and presents competition to the

White Majority.




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        Furthermore, the majority of lower deviations from 4% occur within wards,

which are predominantly white. For example the 19th ward has a 1.99%

requirement the lowest amongst all wards, with a majority white population.

Plaintiff herein incorporates Exhibit 2 to support his allegations.

        Furthermore, the 4% requirement controlling the political processes leading to

nomination or election in the State or political subdivision of alderman is not

equally open to participation by Black, Asian, Pacific, and all other minority class of

citizens protected by the Statute. Specifically, the members of such class have less

opportunity than other members of the electorate to participate in the political

process and to elect representatives of their choice because a 4% requirement or

signature amount of 473 is a higher amount then the actual number of persons who

are of a protected class whom reside within such ward.

        Accordingly, they have less opportunity than other members of the electorate

to participate in the political process by running for office or otherwise to elect

persons of their choice. For example the 10th ward only has 10 Asian residents.

Clearly a signature amount of 473 or 4% creates a less opportunity for Asians to be

participate in the political office or otherwise to elect persons of their choice. See

Exhibit 3. Thus such 4% requirement and process is violative of 52 U.S.C.A. §

10301.


	  
	  
	  
	  
	  
	  


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            VII.    COUNT TWO: VIOLATION OF 52 U.S.C.A. § 10101
	  
         All citizens of the United States who are otherwise qualified by law to vote at any

election by the people in any State, Territory, district, county, city, parish, township,

school district, municipality, or other territorial subdivision, shall be entitled and

allowed to vote at all such elections, without distinction of race, color, or previous

condition of servitude; any constitution, law, custom, usage, or regulation of any State

or Territory, or by or under its authority, to the contrary notwithstanding.” 52 U.S.C.A.

§ 10101.

         Plaintiff alleges the 4% scheme instituted was instituted to further racially

discriminatory purposes of making it more difficult for Minorities to have access to the

ballot and that the effect of the method is “to minimize or cancel out the voting strength

of racial or political elements of the voting population”. Black Voters v. McDonough, 565

F.2d 1, 4 (1st Cir. 1977) Such scheme dilutes the rights of minority voters.

         In support of this count and allegation Plaintiff recites and adopts all the

paragraphs and exhibits contained in Count 1 in support of this count. Plaintiff further

recites and adopts all exhibits contained in this complaint in support of this count.

          The effect of the system is the denial to such minority voters and candidates of

equal access to the ballots and equal power of votes.

VIII.      COUNT 3: VIOLATION OF PLAINTIFF’S RIGHT TO FREE SPEECH
           AND FREEDOM OF ASSOCIATION
	  
        Plaintiff is “running for office” and is a voter of the City of Chicago. “It has long

been established that political activities (i.e. running for office, supporting a

particular political candidate) are protected by the First Amendment. Medina v.



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EXHIBIT ONE PG012




City of E. Chicago, Indiana, 184 F. Supp. 2d 805, 819 (N.D. Ind. 2001). “It is further

well-settled that “[t]he impact of candidate eligibility requirements on voters

implicates basic constitutional rights” to associate politically with like-minded

voters and to cast a meaningful vote.” Stone v. Bd. of Election Comm'rs for City of

Chicago, 750 F.3d 678, 681 (7th Cir. 2014).

     The General Assembly passed IL ST CH 65 § 20/21-28. A generally applicable

ordinance is nothing if not the ‘policy’ of the municipality, enacted by those with

final policy-making authority.” Oxford Bank & Trust & Fifth Ave. Prop. Mgmt. v.

Vill. of La Grange, 879 F. Supp. 3 2d 954, 966 (N.D. Ill. 2012).

     “Reasonable restrictions may be imposed on candidates because states have an

interest in requiring a demonstration of qualification in order for the elections to be

run fairly and effectively.” Stone v. Bd. of Elections Comm'rs for City of Chicago,

955 F. Supp. 2d 886, 892 (N.D. Ill. 2013) aff'd sub nom. Stone v. Bd. of Election

Comm'rs for City of Chicago, 750 F.3d 678 (7th Cir. 2014)

     Plaintiff alleges that when applying the balancing test articulated in Anderson

v. Celebrezze, 460 U.S. 780, 788, 103 S.Ct. 1564, 75 L.Ed.2d 547 (1983), the

character and magnitude of the asserted injury to the rights protected by the First

and Fourteenth Amendments which plaintiff seeks to vindicate against the precise

interests put forward by the State as justifications for the burden imposed by its

rule,” taking into consideration “the extent to which those interests make it

necessary to burden the plaintiffs' rights, the regulation is not justified by a




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compelling interest and is not narrowly tailored to serve that interest. Anderson,

460 U.S. at 789, 103 S.Ct. 1564.

     Furthermore, the law imposes unreasonable, nondiscriminatory restrictions,

upon the protected rights passes constitutional muster if it and furthers no

important state regulatory interests. Burdick, 504 U.S. at 434, 112 S.Ct. 2059.

Stone v. Bd. of Elections Comm'rs for City of Chicago, 955 F. Supp. 2d 886, 892

(N.D. Ill. 2013) aff'd sub nom. Stone v. Bd. of Election Comm'rs for City of Chicago,

750 F.3d 678 (7th Cir. 2014).

     In Support of this allegation Plaintiff incorporates all paragraphs and exhibits

in this complaint. By creating such a variable rate amongst the community through

a 4% or 473 signature requirement the State cannot have a compelling interest

because the measurable quantum is not actually based on community support but

rather the votes for the mayor outside the community (ward), which set the

benchmark requirement of 473 votes. Especially when there are less votes required

in a more populated ward, then those in a significantly less populated ward.

     Defendant State of Illinois passed this ordinance, which resulted in the

constitutional deprivation to Plaintiff. As such, the Defendant’s municipal policy is

the moving force behind the constitutional deprivation in that the Statute and its

enforcement is the vehicle for denying access to the ballot and violating the

Plaintiff’s rights to run and an equal vote.

      Defendants continue to deny Plaintiff access to the ballot, proper voting rights

and continues to deny Plaintiff his constitutional rights.




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     Candidate further asserts that the amount of vote’s candidate presented

satisfies the prior 2% rule based on the number of voters in the 2011 election within

the ward. Candidate asserts that his current signature amounts are a significant

modicum of support and he is therefore in substantial compliance with the intent

and provisions of the election code and that the Defendant has no basis to deny his

access to the ballot.

     Although numerous cases have upheld 5% as a reasonable benchmark for

showing a reasonable modicum of support, such cases are inapplicable to this

matter. Specifically, Libertarian Party of Illinois v. Rednour, 108 F.3d 768, 771 (7th

Cir. 1997) stands for the proposition that 5% is approved. However, such case was

in relation to a STATEWIDE election, which in the last governor’s election had a

voter population of 3,627,690.

     Each Ward in the City of Chicago has less than 30,000.00 voters as shown in

the exhibits. Logic dictates that if 5% is constitutional for a showing of support

from more than 3 million people, 4% for small-populated wards is burdensome,

irrational, unconstitutional, and causes a discriminatory impact on Voters.

       While Jenness v. Fortson, 403 U.S. 431, 433, 91 S. Ct. 1970, 1971-72, 29 L.

Ed. 2d 554 (1971) seems to be applicable, such case actually bolsters the position of

Plaintiff rather than Defendant. Specifically, the court found that, “the 5% figure

is, to be sure, apparently somewhat higher than the percentage of support required

to be shown in many States as a condition for ballot position, but this is

balanced by the fact that Georgia has imposed no arbitrary restrictions




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EXHIBIT ONE PG015




whatever upon the eligibility of any registered voter to sign as many

nominating petitions as he wishes. Georgia in this case has insulated not a

single potential voter from the appeal of new political voices within its borders”

Jenness v. Fortson, 403 U.S. 431, 442, 91 S. Ct. 1970, 1976, 29 L. Ed. 2d 554 (1971).

However, Illinois does not allow voters to sign as many nominating

petitions as he wishes and limits it to one nomination of a candidate

per voter.

     Furthermore, the law dealt with a 5% requirement of votes from the last

election for the office the candidate is running for. Our requirement is not based on

the actual number of voters in that specific wards election for which the candidate

is running but is rather on the election of the mayor, for which the candidate is not

running.

     Lastly, the rule dealt with persons whom lost a primary and chose to run as

independent or by some other political body. The Court found that it could not be

unconstitutional because there are two alternative paths available for election. See

Jenness v. Fortson, 403 U.S. 431, 440-41, 91 S. Ct. 1970, 1975, 29 L. Ed. 2d 554

(1971). Here there is only one path, and a limitation on that path as to one

signature total per voter.

     In Norman v. Reed, 502 U.S. 279 (1992) the court upheld a 5% signature

requirement, not to exceed 25,000 signatures in Cook County and Chicago.




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             However, such case dealt with establishing new political parties not candidates

for office in small wards. 1 Also, the case dealt with county wide and state wide

political party creations so as to be able to run candidate without signatures..

             In Druck v. Illinois State Board of Elections, 387 Ill.App.3d 144, 152 the court

held that “the requirement in section 10–2 of the Election Code, in elections

subsequent to the first election following redistricting, that a new party file

nominating petitions containing signatures from 5% of the qualified voters who

voted in the next preceding regular election in such district is a reasonable and

nondiscriminatory way to have the new party and its candidate, Druck,

demonstrate a modicum.” Druck v. Illinois State Bd. of Elections, 387 Ill. App. 3d

144, 153, 899 N.E.2d 437, 444 (2008). This law dealt with congressional districts,

which had 222,230, not the city wards that have low populations.

             Furthermore, the law provided that “Section 10–2 of the Election Code also

provides that for elections other than the first election following a redistricting, a

new political party that is formed for any district less than the entire state must

file petitions signed by qualified voters of not less than 5% of the voters who voted

at the next preceding regular election in such district.” Plaintiff issue deals

with candidates, not primary elections, and a flat percentage of votes based on a

total of all the districts and the mayor’s race.


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  A	  new	  political	  party	  becomes	  an	  “established	  political	  party”	  if	  it	  receives	  5%	  of	  the	  vote	  

in	  the	  next	  election,	  but	  a	  party	  that	  has	  not	  engaged	  in	  a	  statewide	  election	  can	  become	  
“established”	  only	  in	  a	  subdivision	  where	  it	  has	  fielded	  candidates.	  
Norman	  v.	  Reed,	  502	  U.S.	  279,	  279,	  112	  S.	  Ct.	  698,	  116	  L.	  Ed.	  2d	  711	  (1992)	  
	  


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EXHIBIT ONE PG017




     While the Government may argue that “After ward boundaries change because

of redistricting, it would no longer make sense to use the totals of a prior election's

aldermanic turnout in that ward as the benchmark for a new election.” Accordingly,

their actions of connecting the Mayors race to the wards are legally justified on that

basis. However, The General Assembly required that, “For use in connection with

referenda and the nonpartisan and consolidated elections, each election

authority shall maintain permanent records of the boundaries of all political

subdivisions partially or wholly within its jurisdiction and any districts thereof, and

shall maintain permanent records indicating by tax extension number

code for each registered voter. The political subdivisions and any

districts thereof in which that voter resides. Such records may be kept on

the registration record cards or on separate registration lists, or if a method other

than record coding by tax extension number is adopted by an election authority,

such method shall be, approved by the State Board of Elections. Each political

subdivision must, no later than 5 days after any redistricting, annexation,

disconnection or other boundary change is adopted, give notice of any such adoption

and the effective date of such act to each election authority having election

jurisdiction over any of its former or new territory.” SEE 10 ILCS 5/5-28.1. Thus,

After the redistricting in 2012 the General Assembly had three years to determine

the current amount of voters within the new boundaries based on the 10 ILCS 5/5-

28.1.required records and the ease of looking whom is registered within the new

boundaries.




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EXHIBIT ONE PG018




     Additionally, the Formula could have been determined by examining the

precincts of voting within each ward that were swapped and adding or subtracting

the number from the relative wards.

     However, the real issue is that a ward with 5,000 voters is being diluted or

otherwise controlled by 54500 voters from another geographical area.

     The idea that one groups voting strength is dependent on another is hostile to

the one man, one vote basis of our representative government and violative of due

process and the 1st, 2nd, and 14th and amendment, and equal protection. See Id.

“Once the geographical unit for which a representative is to be chosen is designated,

all who participate in the election are to have an equal vote—whatever their race,

whatever their sex, whatever their occupation, whatever their income, and

wherever their home may be in that geographical unit.“ Gray v. Sanders, 372 U.S.

368, 379, 83 S. Ct. 801, 808, 9 L. Ed. 2d 821 (1963)

     While the Government may argue that if a 5% requirement is constitutional, a

4% requirement is well within the constitutional limit. The case at bar is dealing

with candidates not party’s, there is also no primary election, and there is a flat

percentage of votes based on a total of all the districts and the mayors race, and

Within that small number of 50 are 50 separate wards with 50 significantly

differing populations numbers and numbers of voters, thus 22,000 influence the

vote of 4,700.00




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EXHIBIT ONE PG019




     With regard to Stone v. Bd. of Election Comm'rs for City of Chicago, 750 F.3d

678, 680 (7th Cir. 2014), the court held that "In light of cases like Jeness and

Norman, we have said that 'plaintiffs cannot argue' that even a '5% petitioning

requirement is severe on its face.” However, Stone dealt with the issue that “Under

Illinois law, candidates for Chicago mayor, city treasurer, or city clerk must gather

signatures from 12,500 “legal voters of the city” to have their name printed on the

ballot. 65 ILCS 20/21–28(b). This figure amounts to just under 1% of the 1.3 million

or so registered voters in Chicago. As a proportion of active voters, the number is

somewhat higher; 12,500 is approximately 2.7% of the number of votes cast in the

2007 mayoral election and 2.1% of those cast in 2011.” Stone v. Bd. of Election

Comm'rs for City of Chicago, 750 F.3d 678, 680 (7th Cir. 2014). The Plaintiff’s case

is not based on a citywide election but rather on individual wards. Furthermore, no

votes are influenced in Stone by another district or area. Additionally, 5% is okay

for a mayors race based on millions of voters, how could 4% be okay for 50 races

based on no more than 50,000.00-60,000.00 people.

     In Stout v. Black, 8 Ill. App. 3d 167, 172, 289 N.E.2d 456, 460 (1972) where the

court found that the 5,000 signature requirement equals only 2 to 3% Of the

registered voters in the 14th district, and all districts are substantially equal in

population. Ill.Const. art. 4, sec. 3(a). Stout v. Black, 8 Ill. App. 3d 167, 172, 289

N.E.2d 456, 460 (1972). Here however, the 473 signature percent requires more

than 7% of voter and all the districts or wards are not substantially equal in

population.




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EXHIBIT ONE PG020




     IX.    COUNT FOUR: VIOLATION OF EQUAL PROTECTION


     Candidates for political office and voters enjoy both a First and Fourteenth

Amendment right to participate equally in the electoral process, associate with one

another to achieve policy goals and to vote. See Barr v. Ireland, 575 F. Supp. 2d 747,

755 (S.D.W. Va. 2008).

     Plaintiff argues that there is no rationale, compelling, or other proper basis for

the different treatment of the class of aldermanic candidates and voters in that

allowing some candidates to access the ballot or voters their choice of candidate

with only 1.9% of the signatures and providing for 50 different variable amounts of

signature is not rationale, is discriminatory, unnecessary, and violative of equal

protection.

     The idea that one groups voting strength is dependent on another is hostile to

the one man, one vote basis of our representative government and violative of due

process and the 1st, 2nd, and 14th and amendment, and equal protection. See Id.

     “Once the geographical unit for which a representative is to be chosen is

designated, all who participate in the election are to have an equal vote—whatever

their race, whatever their sex, whatever their occupation, whatever their income,

and wherever their home may be in that geographical unit.“ Gray v. Sanders, 372

U.S. 368, 379, 83 S. Ct. 801, 808, 9 L. Ed. 2d 821 (1963)

      “How then can one person be given twice or 10 times the voting power of

another person in a statewide election merely because he lives in a rural area or




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EXHIBIT ONE PG021




because he lives in the smallest rural county? ” Gray v. Sanders, 372 U.S. 368, 379,

83 S. Ct. 801, 808, 9 L. Ed. 2d 821 (1963).

        Allowing the voters of other wards to influence the elections within other

wards dilutes the power of the voters in small wards by those of larger populated

wards and violates equal protection.

                X.   COUNT FIVE: DUE PROCESS VIOLATION
	  
         “An attack on procedural due process focuses on the statute's specific

procedures and whether the statute provides an “opportunity to be heard at a

meaningful time and in a meaningful manner.” People v. Gale, 376 Ill. App.

3d 344, 361, 876 N.E.2d 171, 187 (2007).

         Plaintiff asserts that he was not provided a hearing in a meaningful time and

manner. Specifically, Plaintiff’s records examinations were conducted prior to City

of Chicago’s new voter registration records being updated. Accordingly, the results

of such examination were not accurate and such hearing was not meaningful

because the records used to compare the signatures were not available thereby

invalidating numerous signatures from Plaintiff’s nomination papers.

In support of this count and allegation Plaintiff recites all the paragraphs and

exhibits listed and contained within this Complaint and incorporates them in to this

count.

	  
	  
	  
	  
	  
	  
	  


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EXHIBIT ONE PG022




       XI.   COUNT 6: VIOLATION OF CIVIL RIGHTS UNDER SECTION 1983
	  
Plaintiff cites to and incorporates within this count all counts, statements, and

exhibits, to support his claim for the Defendant’s violation of Plaintiff’s Civil Rights.

	  
           XII. REQUEST FOR RELIEF
	  
WHEREFORE, Plaintiff requests this Honorable Court for the Following Relief:

       1. Ordering A Stay on the Run-Off Election for the 7th ward.

       2. Plaintiff’s name be placed on the ballot prior to the run-off election

       3. Damages in excess of $100,000.00

       4. Attorney’s Fees and Costs

       5. Invalidation of 65 ILCS 20/21-28




	  
                                                    /S/ Ilia Usharovich
                                                   Attorney For Plaintiff
                                                   Ilia Usharovich, Attorney
                                                   224 South Milwaukee Avenue Suite G
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                                                   Telephone: 847-264-0435
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                                                   Email:Ilia@usharolaw.com




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  EXHIBIT ONE PG023

               EXHIBIT 1

WARDS        VOTES	  FOR	  ALDERMAN	  2011 REQUIRED	  SIGNITURES	     PERCENTAGE OF SIGNITURES
         1             9847                          473                      4.80%
         2             14611                         473                      3.24%
         3             8928                          473                      5.30%
         4             8577                          473                      5.51%
         5             11743                         473                      4.03%
         6             11744                         474                      4.04%
         7             11745                         475                      4.04%
         8             11746                         476                      4.05%
         9             11010                         473                      4.30%
        10             10701                         473                      4.42%
        11             11026                         473                      4.29%
        12             4872                          473                      9.71%
        13             11601                         473                      4.08%
        14             5907                          473                      8.01%
        15             7059                          473                      6.70%
        16             6116                          473                      7.73%
        17             9900                          473                      4.78%
        18             15442                         473                      3.06%
        19             23727                         473                      1.99%
        20             7467                          473                      6.33%
        21             15376                         473                      3.08%
        22             4353                          473                     10.87%
        23             16448                         473                      2.88%
        24             9255                          473                      5.11%
        25             8823                          473                      5.36%
        26             7438                          473                      6.36%
        27             9429                          473                      5.02%
        28             6780                          473                      6.98%
        29             10603                         473                      4.46%
        30             6251                          473                      7.57%
        31             5508                          473                      8.59%
        32             13437                         473                      3.52%
        33             6667                          473                      7.09%
        34             14183                         473                      3.33%
        35             8786                          473                      5.38%
        36             14052                         473                      3.37%
        37             8778                          473                      5.39%
        38             12256                         473                      3.86%
        39             10189                         473                      4.64%
        40             8712                          473                      5.43%
        41             20109                         473                      2.35%
        42             15893                         473                      2.98%
        43             14267                         473                      3.32%
        44             11129                         473                      4.25%
        45             15879                         473                      2.98%
        46             13906                         473                      3.40%
        47             16877                         473                      2.80%
        48             12862                         473                      3.68%
        49             9617                          473                      4.92%
        50                               11487       473                      4.12%




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         EXHIBIT 2


WARDS        VOTES	  FOR	  ALDERMAN	  2011 REQUIRED	  SIGNITURES
                                                                PERCENTAGE	  OF	  	  SPopulation	  
                                                                                         IGNITURES 2010%	  
                                                                                                        U.S.BLACK
                                                                                                               CENSUS    %	  HISPANIC       	  %	  WHITE            %	  ASIAN
         1             9847                          473                 4.80%                   55522             4.53%              34.62%                  54.59%                 4.07%
         2             14611                         473                 3.24%                   69356            40.03%               6.59%                  39.62%                11.25%
         3             8928                          473                 5.30%                   40512            76.72%               9.17%                   8.60%                 3.72%
         4             8577                          473                 5.51%                   49195            69.67%               3.36%                  16.50%                 7.48%
         5             11743                         473                 4.03%                   46246            73.25%               2.93%                  17.00%                 4.25%
         6             11744                         474                 4.04%                   46247            73.25%               2.93%                  17.00%                 4.25%
         7             11745                         475                 4.04%                   46248            73.25%               2.93%                  17.00%                 4.26%
         8             11746                         476                 4.05%                   46249            73.25%               2.94%                  17.01%                 4.26%
         9             11010                         473                 4.30%                   43530            92.33%               4.84%                   1.61%                 0.05%
        10             10701                         473                 4.42%                   51899            18.23%              62.89%                  17.69%                 0.27%
        11             11026                         473                 4.29%                   55911             2.22%              33.19%                  32.81%                30.61%
        12             4872                          473                 9.71%                   56024            15.63%              72.12%                   8.01%                 3.78%
        13             11601                         473                 4.08%                   64065             3.80%              71.97%                  22.73%                 0.81%
        14             5907                          473                 8.01%                   59913             1.84%              87.78%                   8.30%                 1.73%
        15             7059                          473                 6.70%                   47674            61.31%              34.41%                   3.12%                 0.22%
        16             6116                          473                 7.73%                   45920            56.09%              40.91%                   1.97%                 0.13%
        17             9900                          473                 4.78%                   45902            97.14%               1.31%                   0.42%                 0.07%
        18             15442                         473                 3.06%                   55593            66.41%              23.58%                   8.52%                 0.43%
        19             23727                         473                 1.99%                   52647            26.86%               5.32%                  65.74%                 0.60%
        20             7467                          473                 6.33%                   49263            71.64%              21.57%                   4.20%                 1.25%
        21             15376                         473                 3.08%                   50845            97.62%               0.97%                   0.32%                 0.04%
        22             4353                          473                10.87%                   50941             4.79%              92.91%                   1.86%                 0.09%
        23             16448                         473                 2.88%                   58163             4.02%              47.36%                  47.00%                 0.99%
        24             9255                          473                 5.11%                   49587            89.14%               8.63%                   1.19%                 0.16%
        25             8823                          473                 5.36%                   55613             5.80%              56.72%                  19.35%                16.58%
        26             7438                          473                 6.36%                   50599            12.21%              61.49%                  23.57%                 1.31%
        27             9429                          473                 5.02%                   51261            46.82%              16.79%                  30.93%                 3.71%
        28             6780                          473                 6.98%                   48761            83.72%              12.81%                   2.14%                 0.31%
        29             10603                         473                 4.46%                   51206            65.94%              27.00%                   4.78%                 1.20%
        30             6251                          473                 7.57%                   54516             3.76%              74.14%                  19.04%                 2.01%
        31             5508                          473                 8.59%                   57914             2.58%              80.43%                  14.60%                 1.56%
        32             13437                         473                 3.52%                   63515             2.69%              10.60%                  80.23%                 4.42%
        33             6667                          473                 7.09%                   52793             3.68%              54.40%                  31.00%                 8.50%
        34             14183                         473                 3.33%                   48245            96.98%               1.30%                   0.50%                 0.07%
        35             8786                          473                 5.38%                   51005             4.40%              59.10%                  32.21%                 2.58%
        36             14052                         473                 3.37%                   60473             5.51%              32.40%                  57.39%                 3.44%
        37             8778                          473                 5.39%                   51213            62.66%              33.83%                   2.20%                 0.46%
        38             12256                         473                 3.86%                   58810             1.40%              35.94%                  56.68%                 4.39%
        39             10189                         473                 4.64%                   55809             3.45%              32.96%                  42.63%                17.57%
        40             8712                          473                 5.43%                   53439             8.52%              23.43%                  48.81%                16.31%
        41             20109                         473                 2.35%                   60020             0.99%              10.24%                  82.00%                 5.20%
        42             15893                         473                 2.98%                   79216             5.62%               5.42%                  72.65%                13.99%
        43             14267                         473                 3.32%                   56746             4.66%               4.57%                  83.23%                 5.50%
        44             11129                         473                 4.25%                   58097             2.95%               6.41%                  82.54%                 6.01%
        45             15879                         473                 2.98%                   58117             1.16%              23.65%                  65.08%                 7.85%
        46             13906                         473                 3.40%                   53977            18.98%              12.24%                  56.99%                 9.19%
        47             16877                         473                 2.80%                   56565             2.73%              15.27%                  73.83%                 5.61%
        48             12862                         473                 3.68%                   54186            16.88%              13.51%                  53.31%                13.36%
        49             9617                          473                 4.92%                   52252            27.54%              24.18%                  37.46%                 7.26%
        50                               11487       473                 4.12%                   58458            19.14%              22.75%                  44.96%                 0.00%




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WARDS      VOTES	  FOR	  ALDERMAN	  2011 REQUIRED	  SIGNITURES
                                                              PERCENTAGE	  OF	  	  SIGNITURES
                                                                                         Population	  2010	  U
                                                                                                               %	  .S.
                                                                                                                     BLACK
                                                                                                                        CENSUS     %	  HISPANIC       	  %	  WHITE
         1           9847                          473                      4.80%                 55522                      4.53%              34.62%                  54.59%
         2           14611                         473                      3.24%                 69356                     40.03%               6.59%                  39.62%
         3           8928                          473                      5.30%                 40512                     76.72%               9.17%                   8.60%
         4           8577                          473                      5.51%                 49195                     69.67%               3.36%                  16.50%
         5           11743                         473                      4.03%                 46246                     73.25%               2.93%                  17.00%
         6           11744                         474                      4.04%                 46247                     73.25%               2.93%                  17.00%
         7           11745                         475                      4.04%                 46248                     73.25%               2.93%                  17.00%
         8           11746                         476                      4.05%                 46249                     73.25%               2.94%                  17.01%
         9           11010                         473                      4.30%                 43530                     92.33%               4.84%                   1.61%
        10           10701                         473                      4.42%                 51899                     18.23%              62.89%                  17.69%
        11           11026                         473                      4.29%                 55911                      2.22%              33.19%                  32.81%
        12           4872                          473                      9.71%                 56024                     15.63%              72.12%                   8.01%
        13           11601                         473                      4.08%                 64065                      3.80%              71.97%                  22.73%
        14           5907                          473                      8.01%                 59913                      1.84%              87.78%                   8.30%
        15           7059                          473                      6.70%                 47674                     61.31%              34.41%                   3.12%
        16           6116                          473                      7.73%                 45920                     56.09%              40.91%                   1.97%
        17           9900                          473                      4.78%                 45902                     97.14%               1.31%                   0.42%
        18           15442                         473                      3.06%                 55593                     66.41%              23.58%                   8.52%
        19           23727                         473                      1.99%                 52647                     26.86%               5.32%                  65.74%
        20           7467                          473                      6.33%                 49263                     71.64%              21.57%                   4.20%
        21           15376                         473                      3.08%                 50845                     97.62%               0.97%                   0.32%
        22           4353                          473                  10.87%                    50941                      4.79%              92.91%                   1.86%
        23           16448                         473                      2.88%                 58163                      4.02%              47.36%                  47.00%
        24           9255                          473                      5.11%                 49587                     89.14%               8.63%                   1.19%
        25           8823                          473                      5.36%                 55613                      5.80%              56.72%                  19.35%
        26           7438                          473                      6.36%                 50599                     12.21%              61.49%                  23.57%
        27           9429                          473                      5.02%                 51261                     46.82%              16.79%                  30.93%
        28           6780                          473                      6.98%                 48761                     83.72%              12.81%                   2.14%
        29           10603                         473                      4.46%                 51206                     65.94%              27.00%                   4.78%
        30           6251                          473                      7.57%                 54516                      3.76%              74.14%                  19.04%
        31           5508                          473                      8.59%                 57914                      2.58%              80.43%                  14.60%
        32           13437                         473                      3.52%                 63515                      2.69%              10.60%                  80.23%
        33           6667                          473                      7.09%                 52793                      3.68%              54.40%                  31.00%
        34           14183                         473                      3.33%                 48245                     96.98%               1.30%                   0.50%
        35           8786                          473                      5.38%                 51005                      4.40%              59.10%                  32.21%
5g                   14052                         473                      3.37%                 60473                      5.51%              32.40%                  57.39%
        37           8778                          473                      5.39%                 51213                     62.66%              33.83%                   2.20%
        38           12256                         473                      3.86%                 58810                      1.40%              35.94%                  56.68%
        39           10189                         473                      4.64%                 55809                      3.45%              32.96%                  42.63%
        40           8712                          473                      5.43%                 53439                      8.52%              23.43%                  48.81%
        41           20109                         473                      2.35%                 60020                      0.99%              10.24%                  82.00%
        42           15893                         473                      2.98%                 79216                      5.62%               5.42%                  72.65%
        43           14267                         473                      3.32%                 56746                      4.66%               4.57%                  83.23%
        44           11129                         473                      4.25%                 58097                      2.95%               6.41%                  82.54%
        45           15879                         473                      2.98%                 58117                      1.16%              23.65%                  65.08%
        46           13906                         473                      3.40%                 53977                     18.98%              12.24%                  56.99%
        47           16877                         473                      2.80%                 56565                      2.73%              15.27%                  73.83%
        48           12862                         473                      3.68%                 54186                     16.88%              13.51%                  53.31%
        49           9617                          473                      4.92%                 52252                     27.54%              24.18%                  37.46%
        50                             11487       473                      4.12%                 58458                     19.14%              22.75%                  44.96%




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WARDS        VOTES	  FOR	  ALDERMAN	  2011 REQUIRED
                                               %	  BLACK SIGNITURES
                                                           %	  HISPANIC 	  %	  WHITE %	  ASIAN Pacific
         1             9847                          4.53%        34.62% 54.59% 4.07%                   0.04%
         2             14611                        40.03%         6.59% 39.62% 11.25%                  0.04%
         3             8928                         76.72%         9.17%          8.60% 3.72%           0.01%
         4             8577                         69.67%         3.36% 16.50% 7.48%                   0.01%
         5             11743                        73.25%         2.93% 17.00% 4.25%                   0.01%
         6             11744                        73.25%         2.93% 17.00% 4.25%                   0.02%
         7             11745                        73.25%         2.93% 17.00% 4.26%                   0.02%
         8             11746                        73.25%         2.94% 17.01% 4.26%                   0.02%
         9             11010                        92.33%         4.84%          1.61% 0.05%           0.01%
        10             10701                        18.23%        62.89% 17.69% 0.27%                   0.04%
        11             11026                         2.22%        33.19% 32.81% 30.61%                  0.02%
        12             4872                         15.63%        72.12%          8.01% 3.78%           0.00%
        13             11601                         3.80%        71.97% 22.73% 0.81%                   0.01%
        14             5907                          1.84%        87.78%          8.30% 1.73%           0.01%
        15             7059                         61.31%        34.41%          3.12% 0.22%           0.00%
        16             6116                         56.09%        40.91%          1.97% 0.13%           0.01%
        17             9900                         97.14%         1.31%          0.42% 0.07%           0.01%
        18             15442                        66.41%        23.58%          8.52% 0.43%           0.00%
        19             23727                        26.86%         5.32% 65.74% 0.60%                   0.02%
        20             7467                         71.64%        21.57%          4.20% 1.25%           0.01%
        21             15376                        97.62%         0.97%          0.32% 0.04%           0.01%
        22             4353                          4.79%        92.91%          1.86% 0.09%           0.00%
        23             16448                         4.02%        47.36% 47.00% 0.99%                   0.01%
        24             9255                         89.14%         8.63%          1.19% 0.16%           0.00%
        25             8823                          5.80%        56.72% 19.35% 16.58%                  0.02%
        26             7438                         12.21%        61.49% 23.57% 1.31%                   0.02%
        27             9429                         46.82%        16.79% 30.93% 3.71%                   0.03%
        28             6780                         83.72%        12.81%          2.14% 0.31%           0.01%
        29             10603                        65.94%        27.00%          4.78% 1.20%           0.02%
        30             6251                          3.76%        74.14% 19.04% 2.01%                   0.02%
        31             5508                          2.58%        80.43% 14.60% 1.56%                   0.01%
        32             13437                         2.69%        10.60% 80.23% 4.42%                   0.02%
        33             6667                          3.68%        54.40% 31.00% 8.50%                   0.03%
        34             14183                        96.98%         1.30%          0.50% 0.07%           0.02%
        35             8786                          4.40%        59.10% 32.21% 2.58%                   0.04%
        36             14052                         5.51%        32.40% 57.39% 3.44%                   0.01%
        37             8778                         62.66%        33.83%          2.20% 0.46%           0.04%
        38             12256                         1.40%        35.94% 56.68% 4.39%                   0.02%
        39             10189                         3.45%        32.96% 42.63% 17.57%                  0.05%
        40             8712                          8.52%        23.43% 48.81% 16.31%                  0.04%
        41             20109                         0.99%        10.24% 82.00% 5.20%                   0.01%
        42             15893                         5.62%         5.42% 72.65% 13.99%                  0.04%
        43             14267                         4.66%         4.57% 83.23% 5.50%                   0.03%
        44             11129                         2.95%         6.41% 82.54% 6.01%                   0.04%
        45             15879                         1.16%        23.65% 65.08% 7.85%                   0.03%
        46             13906                        18.98%        12.24% 56.99% 9.19%                   0.04%
        47             16877                         2.73%        15.27% 73.83% 5.61%                   0.03%
        48             12862                        16.88%        13.51% 53.31% 13.36%                  0.02%
        49             9617                         27.54%        24.18% 37.46% 7.26%                   0.07%
        50                               11487      19.14%        22.75% 44.96% 0.00%                 44.96%




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WARD         WARD	  VOTES	  IN	  2011	  ALDERMAN	  RACE REQUIREMENT   TOTAL	  NUMBER	  OF	  SIGNTITURES VARIANCE	  FROM	  473	  SIGNTURE	  REQUIRMENT   VARIANCE	  fromM	  
                                                                                                                                                                                     442 442 SIGNITURE R
         1            9847                                      4.00%                                      393.88                   78.12                                    48.12
         2            14611                                     4.00%                                      584.44             -­‐112.44                                -­‐142.44
         3            8928                                      4.00%                                      357.12                114.88                                      84.88
         4            8577                                      4.00%                                      343.08                128.92                                      98.92
         5            11743                                     4.00%                                      469.72                    2.28                                 -­‐27.72
         6            11744                                     4.00%                                      469.76                    2.24                                 -­‐27.76
         7            11745                                     4.00%                                       469.8                     2.2                                    -­‐27.8
         8            11746                                     4.00%                                      469.84                    2.16                                 -­‐27.84
         9            11010                                     4.00%                                       440.4                    31.6                                        1.6
        10            10701                                     4.00%                                      428.04                   43.96                                    13.96
        11            11026                                     4.00%                                      441.04                   30.96                                       0.96
        12            4872                                      4.00%                                      194.88                277.12                                   247.12
        13            11601                                     4.00%                                      464.04                    7.96                                 -­‐22.04
        14            5907                                      4.00%                                      236.28                235.72                                   205.72
        15            7059                                      4.00%                                      282.36                189.64                                   159.64
        16            6116                                      4.00%                                      244.64                227.36                                   197.36
        17            9900                                      4.00%                                        396                       76                                         46
        19            15442                                     4.00%                                      617.68             -­‐145.68                                -­‐175.68
        19            23727                                     4.00%                                      949.08             -­‐477.08                                -­‐507.08
        20            7467                                      4.00%                                      298.68                173.32                                   143.32
        21            15376                                     4.00%                                      615.04             -­‐143.04                                -­‐173.04
        22            4353                                      4.00%                                      174.12                297.88                                   267.88
        23            16448                                     4.00%                                      657.92             -­‐185.92                                -­‐215.92
        24            9255                                      4.00%                                       370.2                   101.8                                       71.8
        25            8823                                      4.00%                                      352.92                119.08                                      89.08
        26            7438                                      4.00%                                      297.52                174.48                                   144.48
        27            9429                                      4.00%                                      377.16                   94.84                                    64.84
        28            6780                                      4.00%                                       271.2                   200.8                                    170.8
        29            10603                                     4.00%                                      424.12                   47.88                                    17.88
        30            6251                                      4.00%                                      250.04                221.96                                   191.96
        31            5508                                      4.00%                                      220.32                251.68                                   221.68
        32            13437                                     4.00%                                      537.48                -­‐65.48                                 -­‐95.48
        33            6667                                      4.00%                                      266.68                205.32                                   175.32
        34            14183                                     4.00%                                      567.32                -­‐95.32                              -­‐125.32
        35            8786                                      4.00%                                      351.44                120.56                                      90.56
        36            14052                                     4.00%                                      562.08                -­‐90.08                              -­‐120.08
        37            8778                                      4.00%                                      351.12                120.88                                      90.88
        38            12256                                     4.00%                                      490.24                -­‐18.24                                 -­‐48.24
        39            10189                                     4.00%                                      407.56                   64.44                                    34.44
        40            8712                                      4.00%                                      348.48                123.52                                      93.52
        41            20109                                     4.00%                                      804.36             -­‐332.36                                -­‐362.36
        42            15893                                     4.00%                                      635.72             -­‐163.72                                -­‐193.72
        43            14267                                     4.00%                                      570.68                -­‐98.68                              -­‐128.68
        44            11129                                     4.00%                                      445.16                   26.84                                    -­‐3.16
        45            15879                                     4.00%                                      635.16             -­‐163.16                                -­‐193.16
        46            13906                                     4.00%                                      556.24                -­‐84.24                              -­‐114.24
        47            16877                                     4.00%                                      675.08             -­‐203.08                                -­‐233.08
        48            12862                                     4.00%                                      514.48                -­‐42.48                                 -­‐72.48
        49            9617                                      4.00%                                      384.68                   87.32                                    57.32
        50                                                      4.00%                                      459.48                   12.52                                 -­‐17.48
                      11487




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              VOTES	  FOR	  ALDERMAN   REQUIRED	  SIGNITUREs PERCENTAGE	  OF	                                          Asain   Pacific            %	  BLACK   %	  HISPANIC   	  %	  WHITE       %	  ASIAN   Pacific
                                                                                                Black	  	     Hispanic                      WHITE
WARDS                           N 2011          S                  Sing ITURES Population	  
          1    9847                           473              4.80%                 55522       2514           19219       2259       24      30310    4.53%         34.62%          54.59%             4.07%         0.04%
          2    14611                          473              3.24%                 69356      27762            4570       7806       27      27477   40.03%          6.59%          39.62%            11.25%         0.04%
          3    8928                           473              5.30%                 40512      31082            3715       1508        6       3486   76.72%          9.17%           8.60%             3.72%         0.01%
          4    8577                           473              5.51%                 49195      34275            1653       3679        6       8115   69.67%          3.36%          16.50%             7.48%         0.01%
          5    11743                          473              4.03%                 46246      33874            1355       1966        6       7862   73.25%          2.93%          17.00%             4.25%         0.01%
          6    11744                          474              4.04%                 46247      33875            1356       1967        7       7863   73.25%          2.93%          17.00%             4.25%         0.02%
          7    11745                          475              4.04%                 46248      33876            1357       1968        8       7864   73.25%          2.93%          17.00%             4.26%         0.02%
          8    11746                          476              4.05%                 46249      33877            1358       1969        9       7865   73.25%          2.94%          17.01%             4.26%         0.02%
          9    11010                          473              4.30%                 43530      40190            2106         20        3        701   92.33%          4.84%           1.61%             0.05%         0.01%
         10    10701                          473              4.42%                 51899       9461           32638        138       22       9181   18.23%         62.89%          17.69%             0.27%         0.04%
         11    11026                          473              4.29%                 55911       1244           18555      17112        9      18346    2.22%         33.19%          32.81%            30.61%         0.02%
         12    4872                           473              9.71%                 56024       8755           40402       2115        2       4488   15.63%         72.12%           8.01%             3.78%         0.00%
         13    11601                          473              4.08%                 64065       2433           46110        518        5      14563    3.80%         71.97%          22.73%             0.81%         0.01%
         14    5907                           473              8.01%                 59913       1102           52589       1036        5       4973    1.84%         87.78%           8.30%             1.73%         0.01%
         15    7059                           473              6.70%                 47674      29228           16403        104        2       1489   61.31%         34.41%           3.12%             0.22%         0.00%
         16    6116                           473              7.73%                 45920      25756           18784         58        4        906   56.09%         40.91%           1.97%             0.13%         0.01%
         17    9900                           473              4.78%                 45902      44591             603         34        6        193   97.14%          1.31%           0.42%             0.07%         0.01%
         18    15442                          473              3.06%                 55593      36919           13108        239        1       4735   66.41%         23.58%           8.52%             0.43%         0.00%
         19    23727                          473              1.99%                 52647      14141            2800        314       12      34608   26.86%          5.32%          65.74%             0.60%         0.02%
         20    7467                           473              6.33%                 49263      35290           10624        617        3       2067   71.64%         21.57%           4.20%             1.25%         0.01%
         21    15376                          473              3.08%                 50845      49634             492         20        6        161   97.62%          0.97%           0.32%             0.04%         0.01%
         22    4353                           473             10.87%                 50941       2442           47331         47        0        947    4.79%         92.91%           1.86%             0.09%         0.00%
         23    16448                          473              2.88%                 58163       2336           27544        576        5      27337    4.02%         47.36%          47.00%             0.99%         0.01%
         24    9255                           473              5.11%                 49587      44201            4279         78        2        589   89.14%          8.63%           1.19%             0.16%         0.00%
         25    8823                           473              5.36%                 55613       3227           31545       9218       11      10761    5.80%         56.72%          19.35%            16.58%         0.02%
         26    7438                           473              6.36%                 50599       6180           31112        663        9      11928   12.21%         61.49%          23.57%             1.31%         0.02%
         27    9429                           473              5.02%                 51261      23999            8606       1902       14      15857   46.82%         16.79%          30.93%             3.71%         0.03%
         28    6780                           473              6.98%                 48761      40823            6247        149        3       1044   83.72%         12.81%           2.14%             0.31%         0.01%
         29    10603                          473              4.46%                 51206      33767           13825        613        9       2446   65.94%         27.00%           4.78%             1.20%         0.02%
         30    6251                           473              7.57%                 54516       2050           40420       1095       11      10378    3.76%         74.14%          19.04%             2.01%         0.02%
         31    5508                           473              8.59%                 57914       1493           46580        905        6       8453    2.58%         80.43%          14.60%             1.56%         0.01%
         32    13437                          473              3.52%                 63515       1710            6731       2806       13      50955    2.69%         10.60%          80.23%             4.42%         0.02%
         33    6667                           473              7.09%                 52793       1944           28722       4489       14      16368    3.68%         54.40%          31.00%             8.50%         0.03%
         34    14183                          473              3.33%                 48245      46787             626         36        9        242   96.98%          1.30%           0.50%             0.07%         0.02%
         35    8786                           473              5.38%                 51005       2246           30146       1318       20      16428    4.40%         59.10%          32.21%             2.58%         0.04%
         36    14052                          473              3.37%                 60473       3330           19594       2082        6      34705    5.51%         32.40%          57.39%             3.44%         0.01%
         37    8778                           473              5.39%                 51213      32091           17323        237       21       1127   62.66%         33.83%           2.20%             0.46%         0.04%
         38    12256                          473              3.86%                 58810        825           21137       2580       13      33332    1.40%         35.94%          56.68%             4.39%         0.02%
         39    10189                          473              4.64%                 55809       1925           18395       9807       28      23789    3.45%         32.96%          42.63%            17.57%         0.05%
         40    8712                           473              5.43%                 53439       4553           12522       8715       19      26083    8.52%         23.43%          48.81%            16.31%         0.04%
         41    20109                          473              2.35%                 60020        594            6147       3124        6      49217    0.99%         10.24%          82.00%             5.20%         0.01%
         42    15893                          473              2.98%                 79216       4451            4294      11080       28      57550    5.62%          5.42%          72.65%            13.99%         0.04%
         43    14267                         473               3.32%                 56746       2647            2592       3121       17      47231    4.66%          4.57%          83.23%             5.50%         0.03%
         44    11129                         473               4.25%                 58097       1711            3722       3491       26      47953    2.95%          6.41%          82.54%             6.01%         0.04%
         45    15879                         473               2.98%                 58117        674           13746       4563       16      37825    1.16%         23.65%          65.08%             7.85%         0.03%
         46    13906                         473               3.40%                 53977      10244            6607       4962       19      30761   18.98%         12.24%          56.99%             9.19%         0.04%
         47    16877                         473               2.80%                 56565       1547            8638       3173       19      41762    2.73%         15.27%          73.83%             5.61%         0.03%
         48    12862                         473               3.68%                 54186       9145            7318       7237       12      28889   16.88%         13.51%          53.31%            13.36%         0.02%
         49    9617                          473               4.92%                 52252      14389           12635       3794       35      19572   27.54%         24.18%          37.46%             7.26%         0.07%
         50         11487                    473               4.12%                 58458      11189           13302          1    26282      26282   19.14%         22.75%          44.96%             0.00%        44.96%




                                                                                                                                                                                                     EXHIBIT ONE PAGE028
